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  1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
  2
       Criminal Action No. 12-cr-00010
  3
       UNITED STATES OF AMERICA,
  4
             Plaintiff,
  5
       vs.
  6
       GREGORY A. COLLINS,
  7
           Defendant.
  8    _______________________________________________________________

  9                         REPORTER'S TRANSCRIPT
                               CHANGE OF PLEA
 10    _______________________________________________________________

 11              Proceedings before the HONORABLE MARCIA S. KRIEGER,

 12    Judge, United States District Court for the District of

 13    Colorado, commencing at 2:34 p.m., on the 5th day of March,

 14    2013, in Courtroom 901A, United States Courthouse, Denver,

 15    Colorado.

 16                                  APPEARANCES

 17              GUY TILL, Assistant U.S. Attorney, 1225 17th Street,

 18    Suite 700, Denver, Colorado, 80202, appearing for the

 19    Plaintiff.

 20              R. SCOTT REISCH, Attorney at Law, 1490 West 121st

 21    Avenue, Suite 202, Denver, Colorado, 80234, appearing for the

 22    Defendant.

 23
                      THERESE LINDBLOM, Official Reporter
 24                 901 19th Street, Denver, Colorado 80294
                 Proceedings Reported by Mechanical Stenography
 25                   Transcription Produced via Computer
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  1                             P R O C E E D I N G S

  2               THE COURT:    Court is convened this afternoon in Case

  3    No. 12-cr-10, encaptioned the United States of America v.

  4    Gregory A. Collins, for purposes of this matter, a change in

  5    plea.

  6               Could I have entries of appearance, please.

  7               MR. TILL:    Good afternoon, Your Honor.      Your Honor,

  8    I'm Guy Till.    I'm an assistant U.S. attorney representing the

  9    Government.

 10               THE COURT:    Good afternoon and welcome.

 11               MR. TILL:    Thank you, Your Honor.

 12               MR. REISCH:    Good afternoon, Your Honor.      Scott Reisch

 13    on behalf of Mr. Gregory Collins, who is present by my side and

 14    on bond.

 15               THE COURT:    Good afternoon and welcome.

 16               Are you all ready to proceed?

 17               MR. TILL:    Yes, Your Honor, we are.

 18               MR. REISCH:    Yes, Your Honor.

 19               THE COURT:    Thank you.

 20               Mr. Reisch, would you and your client please approach

 21    the lectern.

 22               It appears from the record that this matter is before

 23    the Court for a change in the defendant's plea, for

 24    rearraignment pursuant to the Rule 10, and for consideration of

 25    and advisement with regard to the parties' plea agreement in
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  1    accordance with Rule 11.      The record reflects that the

  2    defendant was charged in the original Indictment found at

  3    Docket No. 1, a First Superseding Indictment found at Docket

  4    No. 180, and a second Superseding Indictment found at Docket

  5    No. 469.    He entered a plea of not guilty to all of the counts

  6    in these indictments.      But pursuant to the terms of his written

  7    plea agreement, I understand that he now wants to change his

  8    plea to a plea of guilty to Count 9 of the Second Superseding

  9    Indictment, found at Docket No. 469.

 10               Is that correct?

 11               MR. TILL:    Yes, Your Honor.

 12               MR. REISCH:    Yes, Your Honor.

 13               THE COURT:    And I understand that the Government in

 14    exchange for this wishes to dismiss other counts.          Is that

 15    correct?

 16               MR. TILL:    Yes, Your Honor, it is.

 17               THE COURT:    What are the counts that you intend to

 18    dismiss?

 19               MR. TILL:    Your Honor, going to dismiss Count -- the

 20    initial Indictment and the First Superseding Indictment in

 21    their entirety, and we're going to dismiss the remaining counts

 22    with the exception of Count No. 9 that are in the Second

 23    Superseding Indictment.

 24               THE COURT:    Okay.   When we get to the point that we're

 25    talking about that dismissal, I'm going to need to know which
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  1    counts in the Second Superseding Indictment you're dismissing.

  2              MR. TILL:    I'll have that, Your Honor.

  3              THE COURT:    Thank you.

  4              Would you please rearraign on Count 9.

  5              MR. TILL:    Yes, Your Honor.

  6              Sir, are you the same Gregory A. Collins who is named

  7    as Defendant No. 3 in Count No. 9 of the Second Superseding

  8    Indictment?

  9              THE DEFENDANT:     Yeah.

 10              MR. TILL:    Okay.

 11              THE COURT:    Sir, you're going to need to speak up

 12    loudly into the microphone.

 13              THE DEFENDANT:     Yes.

 14              THE COURT:    Thank you.

 15              MR. TILL:    Okay.

 16              Sir, Count 9 alleges that on or about July 14, 2011

 17    through on or about January 20, 2012, in the state and district

 18    of Colorado, the defendants, Gregory A. Collins, George Gaddy,

 19    Corey Riley, and Thomas Schrah, Jr., then having knowledge of

 20    the actual commission of one and more felony offenses

 21    cognizable by a court of the United States, to-wit, cultivation

 22    of and possession with intent to distribute marijuana, a

 23    Schedule I controlled substance, in violation of Title 21

 24    United States Code Section 841(a)(1) and (b)(1)(D).           It names a

 25    couple of other predicate felony offenses in addition to the
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  1    marijuana offense.

  2              Your factual basis basically concerns the marijuana

  3    offense, but I'm going to tell you these other offenses too.

  4    Possession of a firearm by a prohibited person in violation of

  5    18 U.S.C. Section 922(g); using and carrying a firearm during

  6    and relationship to a Controlled Substance Act felony offense

  7    in violation of 18 U.S.C. Section 924(c); and possession of

  8    cocaine, a Schedule II controlled substance, with intent to

  9    distribute in violation of Title 21 United States Code Section

 10    841(a)(1) and (b)(1)(C).       Said defendants did agree between,

 11    among, and with one another and with other persons to the grand

 12    jury known and unknown to conceal one or more of said offenses

 13    and to refrain from making known the same to a judge and other

 14    person in civil and military authority under the United States,

 15    all in violation of Title 18 United States Code Section --

 16    Section 371 and 4, conspiracy to commit misprision of a felony.

 17              Sir, do you understand that count?

 18              THE DEFENDANT:     Yes.

 19              MR. TILL:    Okay.    Sir, today, how do you wish to plead

 20    to this count?     Do you plead not guilty, or do you plead

 21    guilty, sir?

 22              THE DEFENDANT:     Not -- guilty.

 23              THE COURT:    I'm sorry, would you repeat that, please?

 24              THE DEFENDANT:     Guilty.

 25              THE COURT:    Thank you.
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  1              MR. TILL:    Thank you, sir.

  2              THE COURT:    Mr. Collins, as of this moment, you're not

  3    bound by your plea of guilty.       Indeed, you're not bound by this

  4    plea until I accept it.      You can change your mind at any time

  5    during this hearing until I accept it.

  6              In order to accept your plea, I have to be sure that

  7    you understand the charge that has been brought against you,

  8    that you understand your choices and the consequences that flow

  9    from those choices, I have to be sure your decision to plead

 10    guilty is voluntary and you haven't been pressured into it, and

 11    I have to find that there is a factual basis for your plea.

 12              Throughout this hearing, I want you to let me know if

 13    there is anything you don't understand or if you have any

 14    questions.    And if you do and would like to speak with your

 15    attorney, please let me know so that we can take a brief recess

 16    so that you and your attorney can confer privately.

 17              I will ask you a number of questions.         These questions

 18    are not intended to trap, embarrass, insult, or offend you.

 19    The questions are important because your answers are important.

 20    It's your answers that I must evaluate in order to determine

 21    whether I can accept your plea or not.         Therefore, you must

 22    answer my questions truthfully and completely.          Indeed, just

 23    like a witness, you make a solemn oath promising to tell the

 24    truth.   And if you don't, your answers can be used against you

 25    if an action is brought against you for false statement or
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  1    perjury.    Do you understand?

  2               THE DEFENDANT:    Yes, ma'am.

  3               THE COURT:   Do you want to proceed?

  4               THE DEFENDANT:    Yes.

  5               THE COURT:   Would you please administer the oath.

  6               (Defendant sworn.)

  7               THE COURT:   Mr. Collins, how old are you?

  8               THE DEFENDANT:    58.

  9               THE COURT:   What level of school did you complete?

 10               THE DEFENDANT:    High school.

 11               THE COURT:   Do you have any difficulty reading or

 12    writing?

 13               THE DEFENDANT:    No, I don't.

 14               THE COURT:   Within the last 24 hours, have you taken

 15    any medication?

 16               THE DEFENDANT:    Blood pressure pills.

 17               THE COURT:   How long have you been on the blood

 18    pressure pills?

 19               THE DEFENDANT:    It's been about -- probably eight,

 20    nine years.    It's been a while.     Probably longer than that.

 21               THE COURT:   Are there any side effects associated with

 22    those pills that impair your ability to understand or think

 23    clearly?

 24               THE DEFENDANT:    No, I haven't.

 25               THE COURT:   Within the last 24 hours, have you used
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  1    any drug or alcohol?

  2               THE DEFENDANT:    No, ma'am.

  3               THE COURT:   To the best of your knowledge, have you

  4    ever been diagnosed with a mental illness?

  5               THE DEFENDANT:    No, ma'am.

  6               THE COURT:   Is there anything about the way you feel

  7    today physically, emotionally, or mentally, that makes it hard

  8    for you to understand what is happening?

  9               THE DEFENDANT:    No, ma'am.

 10               THE COURT:   Have you read and do you understand the

 11    charges against you in the Indictment?

 12               THE DEFENDANT:    Yes, I do.

 13               THE COURT:   Have you discussed them with your

 14    attorney?

 15               THE DEFENDANT:    Yes, I have.

 16               THE COURT:   Have you asked him all the questions that

 17    you had about the charges in the First Superseding Indictment

 18    and the first Indictment, as well as the Second Superseding

 19    Indictment?

 20               THE DEFENDANT:    Yes.

 21               THE COURT:   Has he answered all of your questions?

 22               THE DEFENDANT:    Yes, he has.

 23               THE COURT:   Are there any other questions you want to

 24    ask him?

 25               THE DEFENDANT:    No.
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  1              THE COURT:    Thank you.

  2              Mr. Reisch, could you identify the plea agreement for

  3    the record, please.

  4              MR. REISCH:     Your Honor, here at the podium we have

  5    the plea agreement marked as Court's Exhibit 1 before us, as

  6    well as the Statement by Defendant in Advance of Guilty Plea as

  7    Court's Exhibit 2.

  8              Would the Court like me to go through the plea

  9    agreement itself, or no?

 10              THE COURT:    No.   Thank you.

 11              MR. REISCH:     Okay.

 12              THE COURT:    Mr. Collins, would you please turn to

 13    Exhibit 1.    Have you read this document?

 14              THE DEFENDANT:      Yes, I have.

 15              THE COURT:    Have you discussed it with your attorney?

 16              THE DEFENDANT:      Yes, I have.

 17              THE COURT:    Asked him all the questions you had about

 18    it?

 19              THE DEFENDANT:      Yes.

 20              THE COURT:    Has he answered all of your questions?

 21              THE DEFENDANT:      Yes.

 22              THE COURT:    Are there any other questions you want to

 23    ask him about this?

 24              THE DEFENDANT:      No.

 25              THE COURT:    This document has a lot of legal language
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   1   in it.    Do you understand what it says and what it means?

   2              THE DEFENDANT:     Yes.

   3              THE COURT:    Does it reflect all of your agreement with

   4   the Government?

   5              THE DEFENDANT:     Yes.

   6              THE COURT:    Would you please turn to page 3.

   7   Actually, let's start on page 2, paragraph C.          In this

   8   paragraph, you state that you are giving up certain rights that

   9   you have.    First of all, you're giving up your right to appeal

  10   from the sentence that is imposed in this case except under

  11   very limited circumstances.       The only way you can appeal from

  12   the sentence that is imposed is if it is above the maximum

  13   penalty provided in the statute of conviction or if it is above

  14   the applicable sentencing guideline range or if it is based

  15   upon an adjusted offense level greater than 8.          Do you

  16   understand that?

  17              THE DEFENDANT:     Yes, I do.

  18              THE COURT:    You also give up your right to challenge

  19   the prosecution, conviction, or sentence by collateral attack

  20   except under very limited circumstances.         You can only bring a

  21   collateral attack if there is a retroactive change in the

  22   applicable guidelines or sentencing statute or if you want to

  23   assert that you were denied effective assistance of counsel or

  24   if you want to assert that there is a claim of prosecutorial

  25   misconduct.     Do you understand that?
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   1              THE DEFENDANT:     Yes, I do.

   2              THE COURT:    Now, do you understand that the last

   3   sentence in this paragraph says that if the Government appeals

   4   from the sentence that is imposed, then you're released from

   5   all of these restrictions.       Do you understand that?

   6              THE DEFENDANT:     Yes, I do.

   7              THE COURT:    Any questions about that provision?

   8              THE DEFENDANT:     No.

   9              THE COURT:    Would you look at the end of the

  10   agreement.    Did you sign it?

  11              THE DEFENDANT:     Yes.

  12              THE COURT:    Is that your signature there?

  13              THE DEFENDANT:     Yes, it is.

  14              THE COURT:    Thank you.

  15              Mr. Reisch, does Exhibit 1 also bear your signature?

  16              MR. REISCH:    Yes, it does, Your Honor.

  17              THE COURT:    Did you review the plea agreement with

  18   your client?

  19              MR. REISCH:    Extensively, Your Honor.

  20              THE COURT:    Answer all of his questions?

  21              MR. REISCH:    I believe, Your Honor.

  22              THE COURT:    Are you satisfied he understands the

  23   contents of this document?

  24              MR. REISCH:    I am satisfied, yes.

  25              THE COURT:    Did you review the discovery in this case?
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   1              MR. REISCH:    I have.

   2              THE COURT:    Does it comport with the facts that are

   3   stated in here?

   4              MR. REISCH:    Yes, I believe it does.

   5              THE COURT:    Thank you.

   6              Mr. Till, does Exhibit 1 also bear your signature?

   7              MR. TILL:    It does, Your Honor.

   8              THE COURT:    Thank you.

   9              Mr. Collins, in Exhibit 1, there is a statement of

  10   what the Government believes it could prove if this matter were

  11   to go to trial.     By entering into the plea agreement, you are

  12   admitting that the facts stated in the plea agreement are true.

  13   I will treat them as true, both for purposes of considering

  14   your plea and then again at the time of sentencing.           Therefore,

  15   I'm going to ask Mr. Till to recite the facts you have agreed

  16   to.   Listen closely to what he says, because when he finishes,

  17   I'm going to ask whether those facts are true or not.            You must

  18   tell me if you have any dispute with any of those facts stated

  19   in the plea agreement.      Do you understand?

  20              THE DEFENDANT:     Yes.

  21              THE COURT:    Thank you.

  22              Mr. Till, would you please recite the facts on which

  23   the parties agree.

  24              MR. TILL:    Yes, Your Honor.

  25              Your Honor, on or about July 13, 2011, Corey Riley and
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   1   Sheps Khamsahu and other persons possessed quantities of

   2   marijuana with intent to distribute it.         In particular, Corey

   3   Riley possessed approximately 6 pounds of marijuana with intent

   4   to distribute in a house which Corey Riley shared with one or

   5   more other persons on Pontiac Street in Denver, Colorado on or

   6   about July 13, 2011 within the district of Colorado.           On

   7   July 14, 2012 -- Your Honor, I believe that that -- I think

   8   that's a mistake.      Your Honor, that should be July 14, 2011.

   9              With the Court's permission, could we, perhaps,

  10   correct the plea agreement by interlineation?

  11              THE COURT:    Please proceed.

  12              MR. TILL:    On July 14, 2011, the defendant and other

  13   members of Hells Lovers motorcycle club were at a Hells Lovers

  14   motorcycle club meeting, where Sheps Khamsahu and Corey Riley

  15   talked with other members, including Mr. Collins, and

  16   Mr. Collins was aware of the existence of marijuana trafficking

  17   activity.    The Hells Lovers membership club members, including

  18   the defendant, Mr. Collins, Corey Riley, Sheps Khamsahu and the

  19   other members agreed they would not report the marijuana

  20   trafficking activity to authorities and would use precautions

  21   and take steps to limit how much the police would know about

  22   the marijuana trafficking activity of Sheps Khamsahu and

  23   others.

  24              The defendant and others thereafter concealed the

  25   marijuana trafficking activity of Sheps Khamsahu and Corey
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   1   Riley, and the defendant and others did not report the

   2   existence of the marijuana trafficking activities of Sheps

   3   Khamsahu or Corey Riley to any person in authority or law

   4   enforcement.

   5              That's the conclusion of factual basis, Your Honor.

   6              THE COURT:    Thank you.

   7              Mr. Collins, are these facts true?

   8              THE DEFENDANT:     Pardon?

   9              THE COURT:    Are these facts true?

  10              THE DEFENDANT:     Yes.

  11              THE COURT:    Thank you.

  12              Let's talk about the penalty that can be imposed here.

  13   The maximum statutory penalty for the offense of conspiracy to

  14   commit misprision of a felony is not more than 5 years of

  15   imprisonment, there can be a fine of up to $250,000, both can

  16   be imposed, there can be a term of supervised release as long

  17   as 3 years, and there is a mandatory $100 special assessment.

  18              This is a felony conviction.       And as a felony

  19   conviction, it can affect some of your civil rights, including

  20   your right to vote, serve on a jury, hold public office,

  21   possess a firearm, obtain any number of licenses.           If a prison

  22   term is imposed, we measure it in terms of months, not years.

  23   It does not come with any automatic reduction, and there is no

  24   parole.    That means that every month you're sentenced to serve,

  25   you'll serve.
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   1              There are a limited number of ways to reduce a

   2   sentence, and some of those ways you've given up by the terms

   3   of this agreement.      First, a sentence can be reduced by a

   4   successful motion brought shortly after judgment is entered.

   5   Another way to reduce the sentence is through a successful

   6   appeal and resentencing.       But, remember, you've given up your

   7   right to appeal except under very limited circumstances.            A

   8   third way is through a successful collateral attack.           But,

   9   remember, you've given up your right to bring a collateral

  10   attack, except under very limited circumstances.

  11              And if there is a term of imprisonment imposed, the

  12   Bureau of Prisons has discretion to give some credit against a

  13   sentence, depending upon whether the incarcerated person

  14   follows the rules and regulations of the institution where they

  15   are detained.     We call that good time credit, and the Bureau of

  16   Prisons has the limited authority to grant no more than 54 days

  17   per year in its discretion.

  18              Now, after completion of a prison term, there is a

  19   term of supervised release.       Here, it can be as long as 3

  20   years.    And if a term of supervised release is imposed, or

  21   alternatively, if a term of probation is imposed, it comes with

  22   a number of conditions.       These conditions fall into two

  23   categories, standard conditions and special conditions.

  24   Standard conditions apply to all terms of supervised release

  25   and all terms of probation.       Special conditions can be imposed
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   1   based upon what you particularly need.

   2              The standard conditions are numerous, as you might

   3   guess.    I'm not going to address them all, but I'll bring three

   4   to your attention.      You cannot commit any new crimes, state,

   5   federal, or local; you cannot use or sell or possess any

   6   illegal substances; and you cannot use, sell, or possess any

   7   prohibited firearm or destructive devices.          Now, as I said,

   8   there are a host of other standard conditions as well.

   9              Then there are special conditions which are unique to

  10   you and to your particular circumstances.          Oftentimes, these

  11   involve periodic drug checks, mandatory involvement in a

  12   rehabilitation program, either for alcohol abuse or

  13   substance -- other substance abuse, or mental health treatment,

  14   if it's appropriate, or any other kind of rehabilitation

  15   program that would be suitable for you.

  16              Now, what's important about these conditions is how

  17   they are enforced and the fact that they are mandatory.            All of

  18   the conditions apply all of the time, and you have to adhere to

  19   all of the conditions all of the time.         If you don't, a

  20   probation officer can bring you back to this court or to

  21   another courtroom and ask to have the supervised release period

  22   or the probationary period revoked and have you sent to prison.

  23              Now, the penalty that will be imposed here is not just

  24   a function of the statute of conviction.         In deciding what

  25   penalty is appropriate, I have to consider some other statutes.
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   1   One of those is 18 U.S.C. Section 3553, which is the umbrella

   2   statute for sentencing in the federal system.          It requires me

   3   to impose a sentence that is sufficient but not greater than

   4   necessary in order to satisfy particular objectives.           So your

   5   sentence must promote respect for the law; provide just

   6   punishment; adequately deter criminal conduct; protect the

   7   public from further crimes by you; provide you with needed

   8   educational or vocational training, medical care, or other

   9   correctional treatment in the most effective manner.

  10              And in order to fashion a sentence that meets these

  11   objectives, the same statute tells me what factors I can

  12   consider:    The nature and circumstances of the offense; your

  13   history and characteristics; the kinds of sentences that are

  14   available; what the federal sentencing guidelines would

  15   require; the need to avoid unwarranted sentence disparities

  16   among defendants with similar records found guilty of similar

  17   conduct; and in the appropriate case, the need for restitution.

  18              I know that your attorney and the Government's

  19   attorney have calculated the sentencing range that they believe

  20   will apply in this case.       And you'll begin -- you will see

  21   those calculations beginning on page 7.         There are several

  22   things you need to know about these calculations.           First of

  23   all, they're not binding on the Court.         There is no guaranteed

  24   sentence here.     Second, these calculations are not the

  25   calculations that we necessarily will be working from at the
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   1   time of sentencing.      And that's because we're not working from

   2   the plea agreement; we're working from another document called

   3   the presentence report.       It's prepared by a probation officer

   4   of the Court.     And you and your attorney will meet with that

   5   probation officer before sentencing, before the report is

   6   prepared.    You'll also have an opportunity to review the report

   7   before the sentencing hearing.        And if you have a problem with

   8   something in the report, you can bring it to the attention of

   9   the probation officer.      If it's not adequately addressed by the

  10   probation officer in an addendum to the report, you can raise

  11   it at the time of sentencing.

  12              That particular report will have a calculation under

  13   the guidelines, and that's the calculation we'll be working

  14   from.    Sometimes the calculation in that report, though, is not

  15   the same as is in the plea agreement; and, therefore, you will

  16   want to pay particular attention to the calculation in the

  17   report.

  18              And, finally, you should understand that

  19   notwithstanding the calculation under the guidelines, the

  20   guideline calculation is only one factor that I consider in

  21   determining your sentence.       It's an important factor, but it's

  22   not the only one.      It's a starting point, but it's not

  23   necessarily the ending point.

  24              If the calculated sentence under the sentencing

  25   guidelines doesn't achieve the objectives set forth in 18
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   1   U.S.C. Section 3553, then I can enter a non-guideline sentence.

   2   That means a sentence outside the guideline range.           Now,

   3   sometimes people call that a variant sentence, sometimes they

   4   call it a statutory sentence; but they're talking about the

   5   same thing, a sentence outside the guideline range.           And if

   6   there is a sentence outside the guideline range, it can be

   7   higher than the guideline range or lower than the guideline

   8   range, whatever is necessary in order to meet those sentencing

   9   objectives.

  10              As I've indicated, your sentencing hearing will occur

  11   a number of weeks from now after you've had the opportunity to

  12   meet with the probation officer and review the presentence

  13   report.    Please don't be confused by the title "probation

  14   officer."    It has nothing to do with the penalty to be imposed.

  15   It only is the title of the person preparing the report.

  16              Now, at the sentencing hearing, your attorney and the

  17   Government's attorney will have an opportunity to argue about

  18   what sentence is appropriate.        You will have an opportunity to

  19   make a statement, but no one else may make a statement on your

  20   behalf.    If there is somebody you would like to have say

  21   something about you, your history or your characteristics, they

  22   can do so in writing by sending a letter to the probation

  23   officer who prepares the presentence investigation report.             The

  24   letter should not be sent to me.

  25              Do you understand the objectives and factors that I'll
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   1   be evaluating in determining your sentence?

   2              THE DEFENDANT:     Yes, I do.

   3              THE COURT:    Do you understand the maximum sentence

   4   that can be imposed?

   5              THE DEFENDANT:     Yes.

   6              THE COURT:    Do you understand that the charge you're

   7   pleading guilty to is a felony charge?

   8              THE DEFENDANT:     Yes.

   9              THE COURT:    Do you understand that your conviction in

  10   this case may adversely impact certain civil rights?

  11              THE DEFENDANT:     Yes.

  12              THE COURT:    Do you understand that the sentence I

  13   impose may be more severe than what is estimated in the plea

  14   agreement?

  15              THE DEFENDANT:     Yes.

  16              THE COURT:    And do you understand that no matter what

  17   the sentence is, if I accept your plea today, you won't be able

  18   to withdraw it at the time of sentencing?

  19              THE DEFENDANT:     Yes.

  20              THE COURT:    Do you have any questions about

  21   sentencing?

  22              THE DEFENDANT:     No.

  23              THE COURT:    Thank you.

  24              Then would you turn to Exhibit 2, please.         Have you

  25   read this document?
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   1              THE DEFENDANT:     Yes.

   2              THE COURT:    Have you discussed it with Mr. Reisch?

   3              THE DEFENDANT:     Yes, I have.

   4              THE COURT:    Have you asked him all the questions you

   5   had about it?

   6              THE DEFENDANT:     Yes.

   7              THE COURT:    Has he answered all of your questions?

   8              THE DEFENDANT:     Yes.

   9              THE COURT:    Are there any other questions you want to

  10   ask him?

  11              THE DEFENDANT:     No.

  12              THE COURT:    Would you look at the last page, please.

  13   Did you sign this document?

  14              THE DEFENDANT:     Yes, I have.

  15              THE COURT:    Is that your signature there?

  16              THE DEFENDANT:     Yes, it is.

  17              THE COURT:    All right.    Now, let's go over the

  18   constitutional rights you're giving up today by making your

  19   plea of guilty.

  20              First of all, under the Constitution, you have a right

  21   to have a charge such as this tried to a jury.          That trial

  22   would ordinarily take place in this courtroom.          The jury would

  23   sit to my left in the jury box.        Twelve people would serve on

  24   the jury, and you and your attorney and the Government's

  25   attorney would participate in selecting the folks who would
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   1   serve on the jury.      All of the jurors would take a solemn oath

   2   promising to consider only the evidence presented and to follow

   3   my instructions as to the law.

   4              One of the instructions that I would give them would

   5   tell them that they had to reach a unanimous decision based on

   6   what they saw and heard in order to find you guilty.           If any

   7   one of them had a reasonable doubt as to your guilt, you could

   8   not be convicted.

   9              Now, during the trial process, you have a number of

  10   other constitutional rights.       For example, you have the right

  11   to remain silent.      That means nobody can force you to testify

  12   or answer any questions.       The jury can't consider your silence

  13   in determining whether the Government has proven the elements

  14   of the charge or charges against you beyond a reasonable doubt.

  15   Even though you remain silent, your attorney need not.            Your

  16   attorney can examine and cross-examine witnesses, present and

  17   oppose the presentation of evidence, and make arguments to the

  18   jury and to me.

  19              Now, because this is a right, you can waive it.          That

  20   means you can testify if you want to, and you can make that

  21   decision at any time before or during the trial.

  22              Now, you also have the right to call witnesses and

  23   present evidence if you choose.        In fact, if there were people

  24   you wanted to call as witnesses and they were reluctant to come

  25   forward, I would compel them to do so.
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   1              The Constitution also guarantees to you the right to

   2   be represented by an attorney.        And where you can't afford an

   3   attorney, one is appointed to represent you without any cost to

   4   you.   I know that Mr. Reisch has represented you thus far in

   5   this case, but I assure you that if you would prefer to go to

   6   trial rather than to proceed with this plea agreement, he would

   7   continue to represent you ably and well at trial.           And if you

   8   went to trial and you were convicted, you could appeal both

   9   from your conviction and also from your sentence.           But by

  10   entering a plea of guilty today, you're giving up your right to

  11   a jury trial and all the rights that go with it.           You will not

  12   be able to appeal from your conviction; and for the most part,

  13   you won't be able to appeal from your sentence.

  14              Is that what you want to do?

  15              THE DEFENDANT:     Yeah -- yes.

  16              THE COURT:    Do you understand that you're waiving your

  17   right to a jury trial and other constitutional rights

  18   associated with it if you proceed with this plea of guilty?

  19              THE DEFENDANT:     Yes.

  20              THE COURT:    Has anybody pressured you to make this

  21   plea today?     Before you respond, let me be sure you understand

  22   the word "anybody."      It has the broadest definition possible.

  23   It includes your family and your friends and neighbors and

  24   acquaintances and people you like and don't like, people who

  25   like and don't like you, it includes the attorneys and law
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   1   enforcement officers, it includes co-defendants, it includes

   2   anybody.    Has anybody pressured you to enter this plea today?

   3              THE DEFENDANT:     No.

   4              THE COURT:    Has anybody promised you something that

   5   isn't in the plea agreement?

   6              THE DEFENDANT:     No.

   7              THE COURT:    Have you had enough time to review and

   8   consider and discuss your plea and plea agreement with your

   9   attorney?

  10              THE DEFENDANT:     Yes.

  11              THE COURT:    You've been represented by Mr. Reisch in

  12   this case.    Are you satisfied with him as your attorney?

  13              THE DEFENDANT:     Yes.

  14              THE COURT:    Do you have any concerns, complaints, or

  15   criticism about the legal representation you've received?

  16              THE DEFENDANT:     No.

  17              THE COURT:    Do you want to ask Mr. Reisch any

  18   questions?

  19              THE DEFENDANT:     No.

  20              THE COURT:    Do you have any questions for me?

  21              THE DEFENDANT:     No.

  22              THE COURT:    Well, then, now is the time to finalize

  23   your decision.     The plea agreement that we've been discussing,

  24   Exhibit 1, do you still want to proceed with it?

  25              THE DEFENDANT:     Yes.
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                                                                            25


   1              THE COURT:    Do you still want to plead guilty to Count

   2   9 as stated in the Second Superseding Indictment?

   3              THE DEFENDANT:     Yes.

   4              THE COURT:    Mr. Reisch, any reason not to accept the

   5   plea and plea agreement?

   6              MR. REISCH:    No, Your Honor.

   7              THE COURT:    Thank you.

   8              Mr. Till.

   9              MR. TILL:    No, Your Honor, no reason.

  10              THE COURT:    Thank you.    Do either of you desire to

  11   supplement the record?

  12              MR. REISCH:    Nothing by the defense, Your Honor.

  13              MR. TILL:    No, Your Honor.

  14              THE COURT:    Mr. Till, would you like to make your oral

  15   motion to dismiss at this time?

  16              MR. TILL:    Yes, Your Honor.

  17              Your Honor, at this time I would like to enter the

  18   Government's oral motion to dismiss the Indictment and the

  19   First Superseding Indictment as to Mr. Collins.           Also with

  20   regard to the Second Superseding Indictment, I'd like to make

  21   the motion to dismiss Count 1, Count 2, Count 3, Count 6, and

  22   Count 7 as to Mr. Collins only.

  23              THE COURT:    Thank you.

  24              Does count 9 represent the seriousness of the actual

  25   offense behavior?
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   1              MR. TILL:    Yes, it does.

   2              THE COURT:    If I were to accept this agreement, would

   3   the statutory purposes of sentencing be undermined in any

   4   fashion?

   5              MR. TILL:    No, Your Honor, they would not.

   6              THE COURT:    Thank you.

   7              Anything you'd like to add, Mr. Reisch?

   8              MR. REISCH:    No, Your Honor.

   9              THE COURT:    Thank you.

  10              Then based upon the record made in open court today in

  11   Case No. 12-cr-10, encaptioned for purposes of this hearing as

  12   the United States of America v. Gregory A. Collins, I hereby

  13   find that the defendant is fully competent to enter an informed

  14   plea.    He's been represented through the course of this case

  15   and this proceeding and has no objection, criticism, or

  16   complaint as to the representation he's received.           He is aware

  17   of the nature of the charges against him and the effects and

  18   consequences of his plea of guilty.         He has knowingly and

  19   voluntarily waived fundamental constitutional rights including

  20   his right to a jury trial.       He understands that the penalty to

  21   be imposed by the Court will be based in part on the facts

  22   stated in the plea agreement and may exceed that which is

  23   calculated in it.      His plea of guilty is voluntarily and

  24   knowingly made.     The charge and plea is supported by an

  25   independent basis in fact.
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   1              The Government in accordance with the plea agreement

   2   has moved to dismiss all the charges against Mr. Collins in the

   3   Indictment, in the First Superseding Indictment, and Counts 1,

   4   2, 3, 6 and 7 in the Second Superseding Indictment.           Mr. Till

   5   has represented that the remaining charge to which Mr. Collins

   6   has pled guilty, Count 9, adequately reflects the seriousness

   7   of the actual offense behavior and that the agreement does not

   8   undermine the statutory purposes of sentencing.           It's therefore

   9   ordered that Court Exhibits 1 and 2 are received.           The plea as

  10   made in open court today is accepted, and Mr. Collins is

  11   adjudged guilty as charged in Count 9 of the Second Superseding

  12   Indictment.

  13              The counts against Mr. Collins in the Indictment, the

  14   First Superseding Indictment, and Counts 1, 2, 3, 6, and 7 of

  15   the Second Superseding Indictment are dismissed.           However, the

  16   effect of this order is stayed until the time of sentencing.

  17              The probation department will conduct a presentence

  18   investigation and submit a presentence report as required by

  19   Rule 32.    The defendant with the assistance of counsel will

  20   participate in the investigation and cooperate fully with the

  21   probation department.

  22              It looks like to me that you all have set a sentencing

  23   for April -- May 30 at 10 o'clock a.m.         Is that correct?

  24              MR. TILL:    Yes, Your Honor.

  25              MR. REISCH:    Yes, Your Honor.
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                                                                            28


   1              THE COURT:    Still work?

   2              MR. TILL:    Yes, ma'am.

   3              MR. REISCH:    Yes.

   4              THE COURT:    Thank you.    That will be our sentencing

   5   date.    And trial on the charges against Mr. Collins was vacated

   6   upon the filing of the notice of disposition.

   7              With regard to motions, it looks like we have several

   8   outstanding.     Docket No. 207, motion for extension of time to

   9   file pretrial motions.      This is brought by the defense.        Docket

  10   No. 378, a motion for bill of particulars by the defense, and

  11   Document No. 379, a motion to sever defendant by the defense.

  12   Can these be denied as moot?

  13              MR. REISCH:    Yes, please.

  14              THE COURT:    Thank you.    Then they are denied as moot.

  15              Any issues with regard to the conditions of release?

  16              MR. TILL:    Your Honor, I checked with Pretrial

  17   Services yesterday, and they advised that Mr. Collins is doing

  18   very well on pretrial release.        Therefore, the Government

  19   recommends that he remain on bond.

  20              THE COURT:    Thank you.    Any further business by the

  21   Government or the defendant?

  22              MR. REISCH:    None on behalf of Mr. Collins, Your

  23   Honor.

  24              MR. TILL:    No, Your Honor, thank you.

  25              THE COURT:    Thank you, Mr. Till; thank you,
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   1   Mr. Reisch; thank you to our marshal staff and our court staff.

   2   That will conclude this matter, and we'll stand in recess.

   3              (Recess at 3:10 p.m.)

   4                           REPORTER'S CERTIFICATE

   5

   6         I certify that the foregoing is a correct transcript from
       the record of proceedings in the above-entitled matter.
   7

   8          Dated at Denver, Colorado, this 23rd day of August, 2013.

   9                                               s/Therese Lindblom

  10                                         ______________________________
                                             Therese Lindblom,CSR,RMR,CRR
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